                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


SHANON S. RILEY,

       Plaintiff,

v.                                                          No. 1:25-cv-00044-KWR-KK

HEATHER JORDAN, in her individual
and official capacities as the Director
of the New Mexico Workers’
Compensation Administration,

       Defendant.



                           DEFENDANT’S NOTICE OF APPEAL

       Defendant Heather Jordan, in her individual and official capacities, by and through her

counsel of record, hereby gives notice of her appeal to the Tenth Circuit Court of Appeals of this

Court’s May 9, 2025, Amended Memorandum Opinion and Order Granting Plaintiff’s Motion for

Preliminary Injunction (Doc. 26).

                                             Respectfully submitted,

                                             SERPE | ANDREWS, PLLC

                                             By /s/ Blade M. Allen
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of May, 2025, I filed the foregoing through this Court’s
CM/ECF e-filing system and caused a true and correct copy of the same to be served upon all
parties of record as reflected more fully in the electronic Notification of Service.

                                               Respectfully submitted,

                                               /s/ Blade M. Allen
                                               Blade M. Allen
